               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                   CIVIL CASE NO. 1:11-cv-00331-MR
              [Criminal Case No. 1:07-cr-00033-MR-DLH-9]


HAROLD EUGENE PATTON,           )
                                )
                   Petitioner,  )
                                )
     vs.                        )               MEMORANDUM OF
                                )               DECISION AND ORDER
UNITED STATES OF AMERICA,       )
                                )
                   Respondent.  )
_______________________________ )


       THIS MATTER is before the Court on Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence under 28 U.S.C. § 2255 [Doc. 1], as

supplemented [Doc. 12], and the Government’s Motion for Summary

Judgment [Doc. 4].

I.     PROCEDURAL HISTORY

       From January 2002 until April 2007, Petitioner Harold Eugene Patton

and eleven other named defendants conspired with each other and others

to distribute crack cocaine in Burke County, North Carolina. [Criminal Case

No. 1:07-cr-00033-MR-DLH-9, Doc. 228 at ¶ 10: PSR]. As part of the

investigation into Petitioner’s role in the conspiracy, agents made

undercover purchases of crack cocaine from Petitioner and interviewed


     Case 1:07-cr-00033-MR-WCM   Document 514   Filed 08/06/14   Page 1 of 22
numerous co-conspirators who relayed that they bought from or sold to

Petitioner crack cocaine before and during the timeframe of the conspiracy.

[Id. at ¶¶ 12-26; 29; 31-32].      Agents executed a search warrant at

Petitioner’s home (which he shared with his brother, co-defendant John

Patton) and seized a rifle, cocaine base residue, and $453. [Id. at ¶ 27].

When advised of the ongoing federal investigation, Petitioner responded

that he did not care about the seized cash because “he would make that

back by tomorrow by selling more crack.” [Id.]. Based on the undercover

purchases and interviews of co-conspirators, investigators attributed a total

of 182.2 grams of cocaine base to Petitioner. [Id. at ¶ 33].

      On April 3, 2007, a federal grand jury in the Western District of North

Carolina returned an indictment charging Petitioner and eleven others with

conspiracy to distribute at least 50 grams of crack cocaine, in violation of

21 U.S.C. §§ 846 and 841(a)(1). See [Id., Doc. 1: Indictment]. Attorney

Jason Hayes was appointed to represent Petitioner. [Id., Doc. 34]. A few

weeks before Petitioner’s trial was to begin, the Government filed a § 851

Information setting forth Petitioner’s six previous convictions for “felony

drug offenses.” [Id., Doc. 90: Notice Pursuant to 21 U.S.C. § 851]. On July

11, 2007, two days into the court’s trial term but before the trial began,


                                      2



  Case 1:07-cr-00033-MR-WCM     Document 514    Filed 08/06/14   Page 2 of 22
Petitioner entered into a written plea agreement with the Government in

which he agreed to admit guilt as to the charged conspiracy offense. [Id.,

Doc. 142: Plea Agreement].

      The written plea agreement set forth three separate minimum and

maximum penalties — ten years to life imprisonment, twenty years to life

imprisonment, or mandatory life imprisonment — depending on whether

Petitioner had one or more qualifying felony drug offenses. [Id. at ¶ 3]. As

part of the plea agreement, the parties also agreed that the amount of

crack cocaine attributable to Petitioner was at least 50 grams but less than

150 grams. [Id. at ¶ 6(a)]. Petitioner also waived his constitutional rights to

challenge his conviction or sentence on appeal or by collateral attack,

except in instances of ineffective assistance of counsel, prosecutorial

misconduct, or if the district court made some finding on a previously

unanticipated guideline issue that the court certified to be “of such an

unusual nature as to require review by the Fourth Circuit Court of Appeals.”

[Id. at ¶ 19]. Finally, the plea agreement included the standard “Assistance

to the Government” section, which required Petitioner to truthfully

cooperate with the Government and testify, if called to do so, and, if this

cooperation rose to the level of “substantial assistance,” Petitioner agreed


                                      3



  Case 1:07-cr-00033-MR-WCM      Document 514    Filed 08/06/14   Page 3 of 22
that the Government “may” make a motion for a sentence below the

applicable statutory minimum or guideline sentence. [Id. at ¶¶ 22; 23(b)].

      The Magistrate Judge thoroughly questioned Petitioner on the terms

of the plea agreement and the voluntariness of his decision to plead guilty

at the Rule 11 hearing. [Id., Doc. 341 at 2-19: R. 11 Tr.]. The Magistrate

Judge specifically outlined the minimum and maximum penalties outlined in

the plea agreement, including that Petitioner could be sentenced to

mandatory life imprisonment, and Petitioner stated that he understood

these penalties. [Id. at 8; see also id., Doc. 148 at ¶ 12: Acceptance and

Entry of Guilty Plea]. The Magistrate Judge also questioned Petitioner on

his waiver of appellate and post-conviction rights, and Petitioner stated that

he was voluntarily waiving those rights. [Id., Doc. 341 at 16-17; see also

Doc. 148 at ¶ 34]. Counsel for the Government summarized the terms of

the plea agreement, noting that Petitioner would be called to render

assistance to the Government’s case later that day. [Id., Doc. 341 at 15].

      On April 18, 2008, Attorney Hayes, who had represented Petitioner

through the guilty plea, moved to withdraw as counsel. [Id., Doc. 236:

Motion to Withdraw].     Attorney Hayes represented to the Court in his

motion that Petitioner had become “visibly angry, hostile and verbally


                                      4



  Case 1:07-cr-00033-MR-WCM     Document 514    Filed 08/06/14   Page 4 of 22
threatened counsel stating, ‘I’m facing life here, and I have nothing to lose.

Do you know what I’m saying?’”         [Id.].   Attorney Hayes continued that

Petitioner repeated this line several more times and that he (Attorney

Hayes) “felt physically threatened.” [Id.]. Based on these representations,

the Court allowed Attorney Hayes to withdraw and appointed Attorney

Walter Daniels to represent Petitioner for the remainder of the proceedings.

[Id., Doc. 237: Order; Doc. 238: CJA 20].

      On June 25, 2008, nearly a year after he pled guilty, Petitioner moved

to withdraw his guilty plea, arguing he did not have the close assistance of

competent counsel, that Attorney Hayes led him to believe that he would

avoid a life sentence by entering into the plea agreement, and that he was

factually innocent. [Id., Doc. 250 at 2: Motion to Withdraw Plea of Guilty].

In his motion, Petitioner noted that the PSR stated that his sentencing

exposure was mandatory life imprisonment. [Id. at 1; 4]. Petitioner further

alleged that he was unaware that the Government had filed a § 851 Notice

and that he “maintain[ed] his innocence to selling or being involved with the

quantities attributed to him . . . .” [Id. at 7]. The gist of Petitioner’s motion

to withdraw was that prior counsel made a “massive error” in failing to




                                       5



  Case 1:07-cr-00033-MR-WCM      Document 514     Filed 08/06/14   Page 5 of 22
correctly assess and advise Petitioner of his potential mandatory life

sentence. [Id. at 12].

      The Government responded, noting that Petitioner entered his guilty

plea “immediately prior to his scheduled jury trial,” that he did so hoping to

cooperate in the trial of his co-defendant brother, and that, after the Rule 11

hearing, agents interviewed Petitioner, but he “did not provide truthful or

complete information and was uncooperative with the interviewing agents.”

[Id., Doc. No. 253 at 2]. The Government further alleged that Attorney

Hayes worked hard with his client and with the agents to secure some

cooperation benefit for his client, but Petitioner was simply “not

cooperative.” [Id. at 5-6].

      On July 29, 2008, this Court denied Petitioner’s motion to withdraw

his guilty plea. [Id., Doc. No. 263: Memorandum and Order]. In its order,

the Court noted that Petitioner pled guilty “two days after the trial term

began,” that the PSR determined Petitioner faced a mandatory life

sentence, and that “Defendant did not fully cooperate with the Government

as agreed upon in the plea agreement and thus forfeited any potential

motion for downward departure by the Government.” [Id. at 2; 3 n.1]. The

Court further found that Petitioner’s responses at the Rule 11 hearing


                                      6



  Case 1:07-cr-00033-MR-WCM      Document 514    Filed 08/06/14   Page 6 of 22
indicated his plea was knowing and voluntary and that there was no error in

the Rule 11 proceeding. [Id. at 8]. The Court also found that Petitioner

was advised of the potential of a mandatory life sentence, both at the Rule

11 hearing and with the Government’s § 851 notice. [Id. at 13]. In sum, the

Court found that Petitioner “fully understood the nature of the Rule 11

proceeding, freely acknowledged his guilt to the charge herein under oath,

and knowingly entered into a plea agreement with the Government wherein

he agreed, but ultimately failed, to cooperate with the Government in

exchange for the Government’s filing a motion for downward departure on

his behalf.” [Id. at 15]. The Court concluded that none of the factors under

United States v. Moore, 931 F.2d 245, 248 (4th Cir. 1991), warranted

withdrawal of his guilty plea and therefore denied Petitioner’s motion. [Id.

at 16-17].

      The probation officer submitted a final PSR on September 3, 2008,

which determined that Petitioner was responsible for 182.2 grams of crack

cocaine but applied the lower amount (50 grams to 150 grams) to which the

parties had stipulated and further determined that Petitioner had six prior

qualifying drug felonies and therefore faced a mandatory life sentence. [Id.,

Doc. 273 at ¶¶ 33; 40; 112-13: PSR]. Petitioner objected to the attributed


                                     7



  Case 1:07-cr-00033-MR-WCM     Document 514   Filed 08/06/14   Page 7 of 22
drug amount, arguing that he was in prison for large stints of time during

the alleged conspiracy. [Id., Doc. 281 at 2-5: Second Motion to Withdraw

Plea of Guilty and PSI Objections]. The probation officer responded that

the drug amount was based on the parties’ stipulation in the plea

agreement and that, even if the Court sustained Petitioner’s objections, the

sentence would remain the same. [Id., Doc. 291 at 29-32: Revised Final

PSR].

     The Court convened the sentencing hearing on November 19, 2008.

Petitioner again objected to the drug quantity but appeared to concede that,

even if the drug amount were reduced, Petitioner would still be responsible

for 50 grams or more of crack cocaine. [Id., Doc. 315 at 4: Sent. Hrg. Tr.].

The Court denied Petitioner’s objections and again found that Petitioner

understood all aspects of and the consequences of his decision to plead

guilty. [Id. at 5-6]. The Government buttressed this finding, noting that

Petitioner was given multiple chances to cooperate but each time Petitioner

“continued to play some . . . kind of game [ ]” and ultimately did not

cooperate. [Id. at 8]. With the attributable drug amount and Petitioner’s

qualifying drug felonies, Petitioner faced a mandatory life sentence, and the




                                     8



  Case 1:07-cr-00033-MR-WCM     Document 514   Filed 08/06/14   Page 8 of 22
Court sentenced him accordingly. [Id. at 9; see also id., Doc. No. 299:

Judgment].

      Petitioner appealed his conviction, alleging ineffective assistance of

counsel by Attorney Hayes and abuse of discretion by this Court in denying

his motion to withdraw his guilty plea.     In an unpublished, per curiam

opinion dated September 15, 2010, the Fourth Circuit affirmed, holding that

the record did not conclusively establish that Hayes was ineffective and

that this Court did not abuse its discretion in denying Petitioner’s motion to

withdraw his guilty plea. United States v. Patton, 396 F. App’x 6, 7 (4th Cir.

2010).

      Petitioner timely filed the instant petition under § 2255 on December

12, 2011, alleging four grounds of relief: (1) that his guilty plea was not

knowing or voluntary because Attorney Hayes misled him about the

sentencing range he faced, assuring him he faced only a sentence of four

years and four months and never warned him of the possibility of a

mandatory life sentence; (2) that Attorney Daniels provided ineffective

assistance of counsel for failing to “properly argue” the motion to withdraw

Petitioner’s guilty plea, arguing that counsel failed to request a hearing or

present evidence in support of the motion; (3) that Attorney Daniels was


                                      9



  Case 1:07-cr-00033-MR-WCM     Document 514    Filed 08/06/14   Page 9 of 22
ineffective at sentencing and on appeal for failing to argue Petitioner had

only one qualifying drug felony predicate; and (4) that Petitioner’s sentence

of life imprisonment was a “fundamental miscarriage of justice due to actual

innocence of mandatory life and 4B1.1 sentence,” in light of Carachuri-

Rosendo v. Holder, 130 S. Ct. 2577 (2010), and the Fourth Circuit’s en

banc decision in United States v. Simmons, 649 F.3d 237 (4th Cir. 2011).

[Id. at 8].

       In response to Petitioner’s claim that his plea was not knowing and

voluntary because of Attorney Hayes’ alleged poor advice to Petitioner

regarding his potential sentence, Attorney Hayes provided an affidavit to

the Government.     [Doc. 3-1: Hayes Affidavit].   In his affidavit, Attorney

Hayes relayed that he reviewed with Petitioner “all reports, statements, etc.

provided in discovery,” and that he and Petitioner discussed the strength of

the Government’s case against Petitioner and any possible defenses. [Id.

at 2]. Attorney Hayes also relayed that he “discussed with [Petitioner] at

length and on numerous occasions all minimum and maximum penalties

applicable to his charges.” [Id.]. They “specifically discussed the highest

range of possible punishment of life imprisonment due to the government’s

filing of the 21 USC 851 notice.” [Id.]. Attorney Hayes relayed that he


                                     10



  Case 1:07-cr-00033-MR-WCM    Document 514    Filed 08/06/14   Page 10 of 22
discussed with Petitioner the possibility of a downward departure, but he

specifically advised Petitioner that such a departure was only available if he

provided substantial assistance in compliance with the “Assistance to

Government” section of his plea agreement. [Id.]. Attorney Hayes also

stated that he never advised Petitioner that a sentence of four years and

four months was a possibility. [Id.].

         Attorney Daniels also reviewed Petitioner’s motion and provided an

affidavit responding to the allegations against him. See [Doc. 3-2: Daniels

Affidavit]. Attorney Daniels’ affidavit recounts the procedural posture of

Petitioner’s case and the steps he took to move to withdraw Petitioner’s

guilty plea and to minimize the drug quantity attributable to him. [Id. at ¶¶

2-7]. Attorney Daniels relayed that he and Petitioner discussed filing a

petition under § 2255 and other possibilities for a sentence reduction, and,

during these discussions, Petitioner related that he wanted Daniels to

continue representing him and that he wanted to make ineffective

assistance claims against Attorney Hayes only. [Id. at ¶¶ 9-10].

II.      STANDARD OF REVIEW

         Rule 56(a) of the Federal Rules of Civil Procedure provides:

         A party may move for summary judgment, identifying each
         claim or defense — or the part of each claim or defense — on
                                        11



      Case 1:07-cr-00033-MR-WCM   Document 514   Filed 08/06/14   Page 11 of 22
       which summary judgment is sought. The court shall grant
       summary judgment if the movant shows that there is no
       genuine dispute as to any material fact and the movant is
       entitled to judgment as a matter of law. The court should state
       on the record the reasons for granting or denying the motion.

Fed. R. Civ. P. 56(a).

       On a motion for summary judgment, the moving party has the burden

of production to show that there are no genuine issues of fact for trial.

Once the moving party has met that burden, the non-moving party has the

burden of persuasion to establish that there is a genuine issue for trial.

            When the moving party has carried its burden under
            Rule 56(c), its opponent must do more than simply
            show that there is some metaphysical doubt as to
            the material facts. Rather, the nonmoving party
            must come forward with “specific facts showing that
            there is a genuine issue for trial.” Where the record
            taken as a whole could not lead a rational trier of
            fact to find for the nonmoving party, there is no
            “genuine issue for trial.”

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87

(1986) (citations omitted; emphasis in the original) (quoting Fed. R. Civ. P.

56).

III.   DISCUSSION

       A.   Involuntary Guilty Plea Claim




                                      12



   Case 1:07-cr-00033-MR-WCM    Document 514    Filed 08/06/14   Page 12 of 22
     Petitioner first alleges that his guilty plea was unknowing and

involuntary because he was misinformed and uninformed about the

possible sentence he faced. He avers that Attorney Hayes “assured him

that his sentence would be 4 years and 4 months if he pled guilty,” and he

avers that neither Attorney Hayes, counsel for the Government, nor the

court ever informed him of the mandatory minimum sentences. Petitioner

insists that “but for these gross errors and misrepresentations,” he would

have pleaded not guilty and proceeded to trial.

     Petitioner’s allegations, however, are directly contradicted by the

record. The transcript of the Rule 11 proceeding reflects that Petitioner

was advised that depending on the number of his prior drug felonies that he

potentially faced a mandatory life sentence.             Petitioner specifically

acknowledged at the Rule 11 hearing that he understood the explanation of

the minimum and maximum penalties.            This Court may rely on the

Petitioner’s statements made under oath that he understood this aspect of

his guilty plea. United States v. Lemaster, 403 F.3d 216, 221 (4th Cir.

2005). Petitioner was informed of his mandatory penalties not only at the

Rule 11 hearing by the Magistrate Judge, but he was also informed in his

written plea agreement, which he signed, and by Attorney Hayes, as


                                     13



  Case 1:07-cr-00033-MR-WCM    Document 514       Filed 08/06/14   Page 13 of 22
Attorney Hayes stated in his affidavit.   In sum, Petitioner was informed

numerous times by numerous sources of the potential penalties he faced.

     Furthermore, the finality of Petitioner’s guilty plea must be given great

weight. Recognizing that “‘[t]he guilty plea and the often concomitant plea

bargain are important components of this country’s criminal justice

system,’” the Fourth Circuit noted in Lemaster that “[t]he advantages of

plea bargains ‘can be secured, however, only if dispositions by guilty plea

are accorded a great measure of finality.’”            Id. at 219-20 (quoting

Blackledge v. Allison, 431 U.S. 63, 71 (1977)).

     Thus, “because courts must be able to rely on the defendant’s

statements made under oath during a properly conducted Rule 11 plea

colloquy,” when a defendant makes “solemn declarations in open court

affirming a plea agreement,” this testimony carries “a strong presumption of

verity.” Id. at 221. Accordingly, in the § 2255 context, “because they do

carry such a presumption, they present a formidable barrier in any

subsequent collateral proceedings.” Id. (quotation omitted).

     For this reason, the Fourth Circuit has held that “in the absence of

extraordinary circumstances, allegations in a § 2255 motion that directly

contradict the petitioner’s sworn statements made during a properly


                                     14



  Case 1:07-cr-00033-MR-WCM    Document 514       Filed 08/06/14   Page 14 of 22
conducted Rule 11 colloquy are always ‘palpably incredible’ and ‘patently

frivolous or false.’” Id. at 221 (citation omitted). The Lemaster Court’s

examples of an “extraordinary circumstance” are circumscribed to an

obviously and admittedly ineffective attorney whose performance rendered

a plea involuntary, or a plea entered by an un-counseled defendant who

provided documentary proof that he was both physically and mentally ill

during the Rule 11 hearing.       Id. (citing White, 366 F.3d at 300, and

Fontaine v. United States, 411 U.S. 213 (1973)). In a § 2255 proceeding,

the petitioner bears the burden of proving “extraordinary circumstances.”

Id.   And unless the petitioner sufficiently does so, “the truth of sworn

statements made during a Rule 11 colloquy is conclusively established,

and a district court should, without holding an evidentiary hearing, dismiss

any § 2255 motion that necessarily relies on allegations that contradict the

sworn statements. Otherwise, a primary virtue of Rule 11 colloquies would

be eliminated–‘permit[ting] quick disposition of baseless collateral attacks.’”

Lemaster, 403 F.3d at 221-22 (quoting Blackledge v. Allison, 431 U.S. 63,

79 n.19).




                                      15



  Case 1:07-cr-00033-MR-WCM     Document 514    Filed 08/06/14   Page 15 of 22
     Here, the record establishes that Petitioner’s plea was knowingly and

voluntarily made, and Petitioner has not demonstrated otherwise. His first

claim is therefore denied.

     B.    Ineffective Assistance of Counsel Claims

     Petitioner also raises two claims of ineffective assistance of counsel

against Attorney Daniels.     First, he alleges that Attorney Daniels was

ineffective for failing to “properly argue” the motion to withdraw the guilty

plea. Second, he argues that Attorney Daniels was ineffective for failing to

challenge several of his prior drug felonies as invalid predicates and for

failing to argue for a lower sentence under the Fair Sentencing Act. As

explained below, Petitioner cannot demonstrate prejudice as to his first

claim or deficient performance as to his second.

     The Sixth Amendment to the U.S. Constitution guarantees that in all

criminal prosecutions, the accused has the right to the assistance of

counsel for his defense. See U.S. CONST. amend. VI. To show ineffective

assistance of counsel, Petitioner must first establish a deficient

performance by counsel and, second, that the deficient performance

prejudiced him.    See Strickland v. Washington, 466 U.S. 668, 687-88

(1984). In making this determination, there is “a strong presumption that


                                     16



  Case 1:07-cr-00033-MR-WCM    Document 514    Filed 08/06/14   Page 16 of 22
counsel’s conduct falls within the wide range of reasonable professional

assistance.” Id. at 689; see also United States v. Luck, 611 F.3d 183, 186

(4th Cir. 2010).

      Furthermore, in considering the prejudice prong of the analysis, the

Court “can only grant relief under . . . Strickland if the ‘result of the

proceeding was fundamentally unfair or unreliable.’” Sexton v. French, 163

F.3d 874, 882 (4th Cir. 1998) (quoting Lockhart v. Fretwell, 506 U.S. 364,

369 (1993)). Under these circumstances, the petitioner “bears the burden

of affirmatively proving prejudice.” Bowie v. Branker, 512 F.3d 112, 120

(4th Cir. 2008). If the petitioner fails to meet this burden, a “reviewing court

need not even consider the performance prong.” United States v. Rhynes,

196 F.3d 207, 232 (4th Cir. 1999), opinion vacated on other grounds, 218

F.3d 310 (4th Cir. 2000).

            1.     Counsel’s Motion to Withdraw Guilty Plea

      Petitioner contends that Attorney Daniels improperly argued the

motion to withdraw guilty plea before this Court and on appeal, because he

failed to request a hearing, failed to question Petitioner’s former counsel,

and failed to submit an affidavit from Petitioner attesting to the allegations

raised in the motion.       A review of the record, however, leads to the


                                      17



  Case 1:07-cr-00033-MR-WCM      Document 514    Filed 08/06/14   Page 17 of 22
conclusion that even if Attorney Daniels had taken these steps, it would not

have made a difference in the ultimate denial of the motion to withdraw.

This Court premised its denial of the motion to withdraw on Petitioner’s

answers at the Rule 11 hearing, the adequacy of the hearing, and the

Moore factors, all of which weighed against granting the motion to

withdraw. Even if Attorney Daniels had requested a hearing or submitted

an affidavit from Petitioner, the motion still would have been denied for the

same reasons it was denied in the first place. Questioning Attorney Hayes

would have hurt, not helped, Petitioner’s cause, as Hayes’ affidavit makes

clear that he did inform Petitioner of the consequences of his plea,

including the minimum and maximum penalties and the strength (or

weakness) of the Government’s case. In other words, Petitioner cannot

demonstrate Strickland prejudice.

            2.    Counsel’s Failure to Challenge Predicate                Drug
                  Felonies or Argue FSA Retroactivity

      Petitioner contends that Attorney Daniels was also ineffective for

failing to challenge Petitioner’s prior convictions as qualifying predicate

felonies for purposes of the § 851 notice and for failing to argue on appeal

that the Fair Sentencing Act would have applied to his case. Petitioner’s

argument fails on both fronts. First, to the extent that Petitioner argues that
                                      18



  Case 1:07-cr-00033-MR-WCM     Document 514    Filed 08/06/14   Page 18 of 22
Attorney Daniels provided constitutionally deficient representation by failing

to challenge the use of Petitioner’s prior drug convictions to support the

enhancement of his sentence, Petitioner’s claim fails.                  As the Court

discusses, infra, Petitioner had two predicate felony convictions, even after

Simmons; thus, he was properly found to be subject to a mandatory

minimum sentence of life imprisonment. In any event, even if the prior

convictions were not predicate felonies in light of Simmons, Petitioner’s

case concluded well before Simmons was decided.1                          Accordingly,

Petitioner’s argument that Attorney Daniels was ineffective for failing to

argue that his prior drug convictions do not count as qualifying predicates is

without merit.

       Petitioner’s Fair Sentencing Act argument similarly fails. Petitioner

was sentenced in November 2008. At that time, any defendant found guilty

of conspiring to possess with intent to distribute 50 grams or more of crack

cocaine was subject to a statutory minimum sentence of ten years of

imprisonment, twenty years of imprisonment if he had one prior drug felony,

1
  Specifically, Petitioner entered into his guilty plea with the Government in July 2007,
nearly four years before Simmons was decided in September 2011, and Petitioner was
sentenced in November 2008, approximately three years before Simmons was decided
and more than a year-and-a-half before the Supreme Court even issued its decision in
Carachuri-Rosendo v. Holder, 130 S. Ct. 2577 (June 14, 2010), upon which Simmons is
based. Likewise, Petitioner’s appellate brief was filed in October 2009, months before
Carachuri-Rosendo was decided and nearly two years before Simmons was decided.
                                             19



    Case 1:07-cr-00033-MR-WCM       Document 514      Filed 08/06/14    Page 19 of 22
and mandatory life imprisonment if he had two or more qualifying felonies.

See 21 U.S.C. § 841(b)(1)(A) (2009). In the Fair Sentencing Act of 2010

(“FSA”), Pub. L. No. 111-220, 124 Stat. 2372, which was signed into law

August 3, 2010, Congress increased the quantity of crack cocaine

necessary to trigger certain mandatory minimum sentences in § 841. The

FSA is not retroactive to defendants, like Petitioner, who were sentenced

prior to the enactment of the FSA, thus foreclosing Petitioner’s claim for

relief. See Dorsey v. United States, 132 S. Ct. 2321, 2336 (2012) (holding

that the FSA applies retroactively to offenders whose crimes preceded the

effective date but who were sentenced after the effective date of August 3,

2010). Thus, counsel was not ineffective for failing to argue on Petitioner’s

appeal that the lower penalties under the FSA should apply to Petitioner

because, even if he had presented this argument, it would have failed.

     C.    Simmons Claim

     Finally, the Court notes that Petitioner initially brought a Simmons

claim, in which Petitioner argued that he had only one predicate felony

under Simmons and therefore his mandatory life sentence is a

“fundamental miscarriage of justice” in light of Carachuri-Rosendo and

Simmons. Initially, the Government agreed with this assertion, but both


                                     20



  Case 1:07-cr-00033-MR-WCM    Document 514    Filed 08/06/14   Page 20 of 22
parties have now conceded that Petitioner had two prior predicate felonies,

even after Simmons.      [See Docs. 16, 18].     Thus, as conceded by the

parties, Petitioner is not entitled to Simmons relief. Accordingly, this claim

will also be denied.

IV.   CONCLUSION

      For the reasons stated herein, the Court will grant the Government’s

summary judgment motion as to all claims.

      The Court finds that Petitioner has not made a substantial showing of

a denial of a constitutional right. See generally 28 U.S.C. § 2253(c)(2); see

also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy §

2253(c), a “petitioner must demonstrate that reasonable jurists would find

the district court’s assessment of the constitutional claims debatable or

wrong”) (citing Slack v. McDaniel, 529 U.S. 473, 484-85 (2000)). Petitioner

has failed to demonstrate both that this Court’s dispositive procedural

rulings are debatable, and that his Motion to Vacate states a debatable

claim of the denial of a constitutional right. Slack, 529 U.S. at 484-85. As a

result, the Court declines to issue a certificate of appealability. See Rule

11(a), Rules Governing Section 2255 Proceedings for the United States

District Courts, 28 U.S.C. § 2255.


                                     21



  Case 1:07-cr-00033-MR-WCM     Document 514   Filed 08/06/14   Page 21 of 22
                                 ORDER

      IT IS, THEREFORE, ORDERED that the Government’s Motion for

Summary Judgment [Doc. 4] is GRANTED and Petitioner’s Section 2255

Motion to Vacate, Set Aside, or Correct Sentence [Doc. 1], as

supplemented [Doc. 12], is DENIED.

      IT IS FURTHER ORDERED that the Court declines to issue a

certificate of appealability.
                                          Signed: August 6, 2014

      IT IS SO ORDERED.




                                     22



  Case 1:07-cr-00033-MR-WCM     Document 514      Filed 08/06/14   Page 22 of 22
